               Case 2:11-cr-00190-KJM Document 118 Filed 04/10/13 Page 1 of 4


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     FRANK ALIOTO
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                       )       No. CR-S-11-190 MCE
                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION REGARDING
11
                                                     )       EXCLUDABLE TIME PERIODS
     v.                                              )       UNDER SPEEDY TRIAL ACT;
                                                     )       FINDINGS
12
     NICHOLAS RAMIREZ, et al.,                       )
                                                     )       Date: May 30, 2013
13
                                                     )       Time: 9:00 a.m.
             Defendants.                             )       Judge: Honorable Morrison C. England, Jr.
14
                                                     )
                                                     )
15
                                                     )
16
             The United States of America through its undersigned counsel, Jason Hitt, Assistant
17
     United States Attorney, together with counsel for defendant Nicholas Ramirez, Michael B.
18

19   Bigelow, Esq., counsel for defendant Ung Duong, Michael L. Chastaine, counsel for defendant

20   Phat Nguyen, Michael D. Long, Esq., counsel for defendant Justin Nonoguchi, Christopher R.
21
     Cosca, Esq., counsel for defendant Frank Alioto, John R. Manning, Esq., counsel for defendant
22
     Manuel Keith, Jan D. Karowsky, Esq., counsel for defendant Tiffany Brown, Dina L. Santos,
23

24
     Esq., and counsel for defendant Andre Cawthorne, Scott L. Tedmon, Esq., hereby stipulate the

25   following:
26
          1. By previous order, this matter was set for status conference on April 11, 2013.
27

28




                                                         1
                Case 2:11-cr-00190-KJM Document 118 Filed 04/10/13 Page 2 of 4


        2. By this stipulation, defendants now move to continue the status conference until May 30,
 1

 2   2013 and to exclude time between April 11, 2013 and May 30, 2013 under the Local Code T-2

 3   and T-4.
 4
        3.   The parties agree and stipulate, and request the Court find the following:
 5
             a. This case was the product of a lengthy investigation in which wiretaps were utilized
 6

 7
                 on multiple telephones. The government has produced discovery which to date

 8               includes 1,952 pages containing wiretap applications, periodic reports, and
 9               investigative materials. Additionally, the government has provided defense counsel
10
                 with voluminous wiretap conversations. Given this large volume of discovery, the
11
                 defense counsel needs additional time to review the discovery and consult with their
12

13               respective clients.

14           b. The Government does not object to the continuance.
15
             c. Based on the above-stated findings, the ends of justice served by granting the
16
                 requested continuance outweigh the best interests of the public and the defendants in
17
                 a speedy trial within the original date prescribed by the Speedy Trial Act.
18

19           d. For the purpose of computing time under the Speedy Trial Act, 18 United States Code

20               Section 3161(h)(7)(A) within which trial must commence, the time period of April
21
                 11, 2013 to May 30, 2013 inclusive, is deemed excludable pursuant to 18 United
22
                 States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to Local
23

24
                 Code T-2 and T-4 because it results from a continuance granted by the Court at

25               defendant’s request on the basis of the Court’s finding that the ends of justice served
26               by taking such action outweigh the best interest of the public and the defendant in a
27
                 speedy trial.
28




                                                       2
              Case 2:11-cr-00190-KJM Document 118 Filed 04/10/13 Page 3 of 4


       4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
 1

 2          Speedy Trial Act dictate that additional time periods are excludable from the period within

 3          which a trial must commence.
 4
     IT IS SO STIPULATED.
 5

 6

 7   Dated: April 5, 2013                                         /s/ Michael B. Bigelow
 8
                                                                  MICHAEL B. BIGELOW
                                                                  Attorney for Defendant
 9                                                                Nicholas Ramirez
10   Dated: April 5, 2013                                         /s/ Michael L. Chastaine
11
                                                                  MICHAEL L. CHASTAINE
                                                                  Attorney for Defendant
12                                                                Ung Duong
13
     Dated: April 5, 2013                                         /s/ Michael D. Long
14                                                                MICHAEL D. LONG
                                                                  Attorney for Defendant
15                                                                Phat Nguyen
16
     Dated: April 5, 2013                                          /s/ Christopher R. Cosca
17                                                                CHRISTOPHER R. COSCA
                                                                  Attorney for Defendant
18                                                                Justin Nonoguchi
19
     Dated: April 2, 2013                                          /s/ John R. Manning
20                                                                JOHN R. MANNING
                                                                  Attorney for Defendant
21                                                                Frank Alioto
22
     Dated: April 5, 2013                                          /s/ Jan D. Karowsky
23                                                                JAN D. KAROWSKY
                                                                  Attorney for Defendant
24                                                                Manuel Keith
25
     Dated: April 5, 2013                                         /s/ Dina L. Santos
26                                                                DINA L. SANTOS
                                                                  Attorney for Defendant
27                                                                Tiffany Brown
28




                                                      3
             Case 2:11-cr-00190-KJM Document 118 Filed 04/10/13 Page 4 of 4


     Dated: April 5, 2013                           /s/ Scott L. Tedmon
 1
                                                    SCOTT L. TEDMON
 2                                                  Attorney for Defendant
                                                    Andre Cawthorne
 3

 4

 5
     Dated: April 5, 2013                           Benjamin B. Wagner
 6                                                  United States Attorney
 7
                                                    by: /s/ Jason Hitt
 8                                                  JASON HITT
                                                    Assistant U.S. Attorney
 9

10
                                        ORDER
11          IT IS SO ORDERED.
12

13
     DATED: April 8, 2013
14

15

16
                                    __________________________________________
17
                                    MORRISON C. ENGLAND, JR., CHIEF JUDGE
18                                  UNITED STATES DISTRICT JUDGE

19

20

21

22

23

24

25

26

27

28




                                           4
